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               Exhibit 35-1
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         Authorization to transport for parole
                         (Travel Letter)




             Standard Operating Procedure




                                                                 June 2017




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Objective:
Ensure that requesting, obtaining and recorded parole travel authorization
letters are kept in a single procedure.

Make updates in Travel tracker and Mimosa accordingly




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   3. Returning Travel Letters to DHS.
      H. Travel Letters with mistakenly information.
 i.      All travel letters with wrong spelling and expiration date before must travel by
         date have to be returned to DHS department.
ii.      By email DHS will be contacted to let them know which case number and name
         has the mistake and returning/exchange schedule has to be made.


     I. Travel Letters unused
i.      All travel letters unused must be returned to DHS department, with an
        explanation of why applicant didn’t’ fly to United States.




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